
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

        No. 94-1645

                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                                  TALAL H. ALZANKI,

                                Defendant, Appellant.

                                 ____________________


                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                       [Hon. Rya W. Zobel, U.S. District Judge]
                                           ___________________


                                 ____________________

                                        Before

                                Selya, Cyr and Stahl,

                                   Circuit Judges.
                                   ______________

                                 ____________________


             Michael A. Collora, with whom David A. Bunis  and Dwyer &amp; Collora
             __________________            ______________      _______________
        were on brief for appellant.
             S. Theodore Merritt, Assistant  United States Attorney, with whom
             ___________________
        Deval L. Patrick, Assistant Attorney General, Donald K.  Stern, United
        ________________                              ________________
        States  Attorney, and  Steven  M. Dettelbach,  Trial Attorney,  United
                               _____________________
        States Department of Justice, were on brief for appellee.

                                 ____________________

                                     June 1, 1995
                                 ____________________





















                    CYR, Circuit Judge.  Defendant Talal H. Alzanki appeals
                    CYR, Circuit Judge
                         _____________

          from  a district  court  judgment convicting  and sentencing  him

          under 18 U.S.C.    371 and 1584, for holding a household employee

          in involuntary servitude.  We affirm.  


                                          I
                                          I

                                     BACKGROUND1
                                     BACKGROUND
                                     __________

                    At  the end of the Gulf War, Vasantha Katudeniye Gedara

          ("Gedara"),  a native  of Sri  Lanka, was  employed by  appellant

          Talal Alzanki's family  for a brief time as a domestic servant in

          their  Kuwaiti residence.   The  Alzanki family  prevented Gedara

          from  leaving  their residence,  by  retaining  her passport  and

          warning  her that  she would  be subject  to arrest  and physical

          abuse by the Kuwaiti  police should she venture outside.   Gedara

          was informed that she soon would  be sent to the United States to

          work  for appellant  Talal  Alzanki and  his  wife, Abair,  at  a

          monthly  salary of  $250, which  was reduced  to $120  before she

          departed Kuwait. 

                    Immediately upon her  arrival at appellant's  apartment

          in Quincy,  Massachusetts, on August 28,  1992, Gedara's passport

          was confiscated by  appellant, who told her  that she was  not to

          leave the apartment  alone.   She was  not permitted  to use  the

                              
          ____________________

               1The  facts are related in  the light most  favorable to the
          verdicts.   See United States v.  Tejeda, 974 F.2d 210,  212 (1st
                      ___ _____________     ______
          Cir. 1992).



















          telephone or the mails,  speak with anyone other than  the Alzan-

          kis, nor  even to venture onto the balcony or look out the apart-

          ment windows.  Appellant told Gedara that the American police, as

          well  as  the  neighbors,  would shoot  undocumented  aliens  who

          ventured out alone.

                    During the  four months she remained  in the apartment,

          Gedara was assaulted twice.   On one occasion, when  Gedara asked

          that the  volume be turned down  on the television while  she was

          trying to sleep,  appellant grabbed and threw  her bodily against

          the  wall.  On another occasion, Abair Alzanki slapped Gedara and

          spat in her face when she failed to turn off a monitor.  

                    The  Alzankis deliberately  risked  Gedara's health  by

          compelling  her to work fifteen  hours a day  at hard, repetitive

          tasks.   She was  required to clean  the apartment  on a constant

          basis with  caustic and noxious chemicals, without the benefit of

          respiratory protection,  and her requests for  rubber gloves were

          refused.   Later, after the noxious fumes caused Gedara to faint,

          fall, and injure  her ribs, the Alzankis  withheld medical treat-

          ment.  They also refused to  let Gedara have dental treatment for

          an abscessed tooth.  

                    Finally,  though affluent,  the Alzankis  denied Gedara

          adequate food, which resulted  in serious symptoms of malnourish-

          ment, including  enlarged abdomen, massive hair  loss, and cessa-

          tion of menstrual cycles.   She was provided with only two house-

          coats to wear  and allowed to  sleep and sit  only on the  floor.




                                          3
                                          3














          Once, after Gedara accidentally  broke a humidifier, the Alzankis

          threatened to withhold all her wages.  

                    In addition  to the physical abuse  and inhumane treat-

          ment,  Gedara was threatened     on almost a  daily basis    with

          deportation, death or serious harm should she  disobey the Alzan-

          kis' orders.  On  numerous occasions, the Alzankis threatened  to

          deport  her to Kuwait, and not allow  her to return to Sri Lanka.

          Appellant threatened to  kill her if the Alzankis'  newborn child

             suffering from spina bifida    were to die while appellant was

          away  in New York.  The climate  of fear was enhanced by Gedara's

          witnessing one incident involving Talal Alzanki's  physical abuse

          of  Abair, and by  learning from Abair  that he had  struck Abair

          again  shortly thereafter.   On  another occasion,  Abair Alzanki

          threatened to sew up Gedara's mouth with a needle and thread, and

          throw her into the ocean.  

                    On  December 17,  1992, after  confiding her  plight to

          nurses  who came to the apartment  to care for the Alzankis' sick

          child, Gedara fled the  apartment and reported her ordeal  to the

          local police.   Appellant  later  complained to  the police  that

          Gedara  should be returned, because she "belonged to him" and "he

          had a contract for her."  

                    A federal  grand jury returned a  two-count indictment,

          charging  the  Alzankis with  conspiring  to  hold, and  holding,

          Gedara in involuntary servitude, in violation of 18 U.S.C.    371

          and 1584.  At trial, the Alzankis testified  in their own behalf;

          Gedara  testified for the prosecution.  Due to a medical emergen-


                                          4
                                          4














          cy,  a mistrial was  declared as to  Abair Alzanki, prior  to her

          cross-examination.   The government nonetheless agreed  to permit

          her  direct testimony to remain  in evidence.   The jury returned

          guilty verdicts  against  Talal  Alzanki on  both  counts.    The

          district  court  sentenced him  to one  year  and one  day, which

          represented a  downward departure from the  18-to-24 month guide-

          line sentencing range, and to a modest restitutionary sentence.  


                                          II
                                          II

                                      DISCUSSION
                                      DISCUSSION
                                      __________

                    Appellant  challenges  certain  jury instructions;  the

          sufficiency of the evidence  supporting both convictions; various

          evidentiary rulings;  the government's closing argument;  and the

          $13,403.00 restitutionary sentence imposed by the district court.

          A.  The Scope of the Involuntary Servitude Statute
          A.  The Scope of the Involuntary Servitude Statute
              ______________________________________________

                    Section 1584 proscribes involuntary servitude.2  It  is

          not  to be  read  so narrowly  as  to pose  Thirteenth  Amendment

          problems.  United States  v. Kozminski, 487 U.S. 931,  945 (1988)
                     _____________     _________

          ("Congress'  use  of the  constitutional  language  in a  statute

          enacted pursuant  to its constitutional authority  to enforce the

                              
          ____________________

               2At the time of the offense, the statute provided: 

                    Whoever  knowingly  and  willfully  holds  to
                    involuntary servitude or sells into  any con-
                    dition  of  involuntary servitude,  any other
                    person  for  any term,  or brings  within the
                    United States  any person  so held, shall  be
                    fined not more than $5,000 or  imprisoned not
                    more than five years, or both.  

          18 U.S.C.   1584 (1992).  

                                          5
                                          5














          Thirteenth Amendment guarantee makes the conclusion that Congress

          intended  the  phrase to  have the  same  meaning in  both places

          logical,  if  not inevitable.   In  the  absence of  any contrary

          indications, we therefore give  effect to congressional intent by

          construing 'involuntary  servitude' in a way  consistent with the

          understanding of  the Thirteenth Amendment that  prevailed at the

          time  of   1584's enactment."); see also United States v. Booker,
                                          ___ ____ _____________    ______

          655  F.2d 562, 564-65 (4th Cir. 1981); United States v. Shackney,
                                                 _____________    ________

          333 F.2d 475,  481-86 (2d Cir.  1964).3  The government  need not

          prove  physical restraint.  See, e.g., United States v. King, 840
                                      ___  ___   _____________    ____

          F.2d  1276,  1278-79 (6th  Cir.  1988)  (upholding cult  leaders'

          convictions  for  holding  occupants  in  involuntary  servitude,

          despite absence  of fencing  or other physical  barriers); United
                                                                     ______

          States  v. Warren, 772  F.2d 827-33  (11th Cir.  1985) (upholding
          ______     ______

          involuntary servitude conviction even  though victim had opportu-

          nity  to  escape), cert.  denied,  475 U.S.  1022  (1986); United
                             ____   ______                           ______

          States v. Bibbs, 564 F.2d 1165, 1167 (5th Cir.) (recognizing that
          ______    _____

          various forms  of physical force  and/or threats of  violence may
                                     _____         _______

          establish  requisite  coercion),  cert.  denied,  435  U.S.  1007
                                            ____   ______

          (1977).  


                              
          ____________________

               3Most  peonage and  involuntary  servitude cases  in  recent
          years  have involved  migrant agricultural  workers.   See, e.g.,
                                                                 ___  ____
          Kozminski, 487 U.S.  931 (dairy farm  workers); United States  v.
          _________                                       _____________
          Harris, 701 F.2d 1095,  1098 (4th Cir. 1982) (migrant  truck-farm
          ______
          workers), cert.  denied, 463 U.S.  1214 (1983); Booker,  655 F.2d
                    ____   ______                         ______
          562 (migrant farm-labor camp);  United States v. Bibbs,  564 F.2d
                                          _____________    _____
          1165,  1167  (5th  Cir.  1977) (fruit  harvesting  crews),  cert.
                                                                      ____
          denied,  435 U.S. 1007  (1978); Shackney, 333  F.2d 475 (chicken-
          ______                          ________
          farm workers).    

                                          6
                                          6














                    Absent  proof  of  physical  restraint,  a  finding  of

          involuntary  servitude  is  not warranted,  however,  unless  the

          government  establishes  that  the  victim could  only  extricate

          herself  by risking "imprisonment or  worse."  Shackney, 333 F.2d
                                                         ________

          at  486.  Thus, compulsion is an essential element of involuntary

          servitude under  section 1584.   See Flood v. Kuhn,  316 F. Supp.
                                           ___ _____    ____

          271, 281 (S.D.N.Y.  1970), aff'd,  443 F.2d 264  (2d Cir.  1971),
                                     _____

          aff'd, 407 U.S.  258 (1972).   In sum,  the requisite  compulsion
          _____

          under section 1584 obtains when  an individual, through an actual

          or threatened  use of  physical or legal  coercion, intentionally
                                          __

          causes  the oppressed  person  reasonably to  believe, given  her

          "special  vulnerabilities," that  she has  no alternative  but to

          remain in involuntary  service for  a time.   See Kozminski,  487
                                                        ___ _________

          U.S. at 952-53; United  States v. Mussry, 726 F.2d  1448, 1451-52
                          ______________    ______

          (9th  Cir.), cert. denied, Singman v. United States, 469 U.S. 855
                       ____  ______  _______    _____________

          (1984).  

                    A  sustainable conviction under  section 1584 therefore

          requires  sufficient evidence  to enable  a finding,  inter alia,
                                                                _____ ____

          that the defendant used  or threatened physical restraint, bodily
                                   __

          harm  or legal  coercion.   Kozminski,  487  U.S. at  952  ("This
                __                    _________                        ____

          definition encompasses  those cases in which  the defendant holds
          __________ ___________  _____ _____ __ _____  ___ _________ _____

          the victim in  servitude by placing  the victim  in fear of  such
          ___ ______ __  _________ __ _______  ___ ______  __ ____ __  ____

          physical  restraint  or  injury or  legal  coercion.")  (emphasis
          ________  _________  __  ______ __  _____  ________

          added).    Moreover,  in  assessing whether  the  government  has

          succeeded in  establishing the requisite compulsion,  the jury is

          to consider  the victim's "special vulnerabilities,"  with a view


                                          7
                                          7














          to  "whether the  physical or legal  coercion or  threats thereof

          could plausibly have  compelled the victim to  serve [against her

          will]."  Id.4  In other  words, conviction under  section 1584 is
                   __

          precluded absent proof,  inter alia, that  the victim was  inten-
                                   _____ ____

          tionally  held in service against her will (i) by actual physical

          restraint or physical force or (ii) by legal coercion or (iii) by

          plausible threats of physical harm or legal coercion.

          B.   Jury Instructions
          B.   Jury Instructions
               _________________

                    We review the challenged  jury instructions against the

          backdrop of the entire  charge, see United States v.  Tutiven, 40
                                          ___ _____________     _______

          F.3d 1, 8  (1st Cir. 1994) (citing  United States v. Serino,  835
                                              _____________    ______

          F.2d  924, 930  (1st Cir.  1987)), cert.  denied, 115  S.Ct. 1391
                                             ____   ______

          (1995),  focusing our  inquiry on  whether the  instructions ade-

          quately  explained the law or "'whether they tended to confuse or

          mislead  the jury on the controlling issues.'"  Brown v. Trustees
                                                          _____    ________



                              
          ____________________

               4The Kozminski  Court elaborated on the  evidentiary role of
                    _________
          the victim's "special vulnerabilities":

                    [A]  child who is told he can go home late at
                    night in the dark  through a strange area may
                    be  subject to physical coercion that results
                    in  his staying,  although a  competent adult
                    plainly would not be.   Similarly, it is pos-
                    sible  that  threatening an  incompetent with
                    institutionalization  or  an  immigrant  with
                    deportation  could  constitute the  threat of
                    legal coercion that induces  involuntary ser-
                    vitude, even though such  a threat made to an
                    adult citizen of normal intelligence would be
                    too implausible to  produce involuntary  ser-
                    vitude. 

          487 U.S. at 948.

                                          8
                                          8














          of  Boston Univ.,  891 F.2d  337, 353  (1st Cir.  1989) (citation
          ________________

          omitted), cert. denied, 496 U.S. 937 (1990).  
                    ____  ______

               1.   The Instruction on Involuntary Servitude
               1.   The Instruction on Involuntary Servitude
                    ________________________________________

                    Appellant asserts three challenges to the jury instruc-

          tion defining  the substantive offense  of involuntary servitude.

          First,  he argues that the  court misled the  jury into believing

          that psychological pressure alone  could establish the  requisite

          element of compulsion, by defining "physical force" as encompass-

          ing "the notion  of compulsion, coercion, power,  violence."  The

          district court's instruction stated:

                    [T]he government has to prove that the defen-
                    dant held Ms. Gedara in involuntary servitude
                    by  using or  threatening physical  force, or
                    using or threatening legal coercion.

                    Physical  force includes  restraint, physical
                    restraint,  locking somebody  up, or  in some
                    other way  restraining  the person.   It  in-
                    cludes  physically injuring  the person.   It
                    includes the notion of  compulsion, coercion,
                    power, violence.   And the government  has to
                    _____
                    prove that the defendant held or participated
                    in  holding  Ms.  Gedara  by  using  physical
                    force,  or by  threatening  to  use  physical
                    force.

          (Emphasis  added.)   Appellant theorizes that  the jury  may have

          misinterpreted the term "power," in light of the expert testimony

          proffered by the government, see infra Section II.D.1, that "[a]n
                                       ___ _____

          unequal  power relationship is where there is a subordinate and a

          dominant  person.    It  is generally  defined  by  the authority

          person, and  it is unequal because of that authority relationship

          that exists between the two parties."    




                                          9
                                          9














                    The argument is without merit.  The challenged instruc-

          tion,  viewed against  the  backdrop of  the  entire charge,  see
                                                                        ___

          Tutiven,  40 F.3d at 8, left no doubt whatever that psychological
          _______

          pressure alone would not satisfy the "force or threat" element of

          the involuntary servitude offense.5

                    Second, appellant claims that the district court failed

          to instruct the jury that  any fear engendered in Gedara  must be

          shown to  have been "reasonable."   But,  in fact, the  court in-

          structed the  jury to  decide "whether  the service  was involun-

          tary[] [and] whether Ms. Gedara reasonably believed that she  had
                                          __________ ________

          no choice  except to remain in the service of the Alzankis."  The

          district court's references to subjective considerations, such as

          "whether [Gedara]  was personally  in fear  of physical or  other

          means of coercion," occurred  in the course of its  discussion of

          the  types of evidence the  jury could weigh  in deciding whether
                        ________

          Gedara's belief     that she had  no other choice     was reason-
                   ______                                       ___ _______

          able.  See also infra note 6.   The trial judge assuredly did not
          ____   ___ ____ _____

          suggest that a mere finding that Gedara harbored fears    however

          unreasonably    was enough  to establish compulsion under section

          1584.  It  was entirely proper  to instruct the jury  to consider
                              
          ____________________

               5In  the final  jury charge,  the  trial judge  provided un-
          mistakably  clear guidance  against  any  such  misunderstanding:
          "But [Talal Alzanki] cannot be convicted if you find he used only
                               ______ __ _________
          psychological means to compel  her, if he played mind  games with
          her.  That's not enough.  The government does have  to prove that
                ______ ___ ______
          he used . . . or threatened physical or legal coercion."
               Moreover,  the  preliminary  jury   instructions  explained:
          "Now,  involuntary servitude . . . means a condition of servitude
          in which  the victim is forced  to work for the  defendant by the
          use  or threat of physical restraint or physical injury or by the
          ___  __ ______ __ ________ _________ __ ________ ______ __ __ ___
          use or threat of coercion through law or legal process."  
          ___ __ ______ __ ________ _______ ___ __ _____ _______

                                          10
                                          10














          Gedara's background and experience in assessing whether her fears

          were reasonable.6  

                    The final instructional challenge relates  to an uncer-

          tified transcript  of the  jury charge     containing a  clerical

          error     made available  to the  jury during  its deliberations.

          The transcript  mistakenly stated:  "The government does not have
                                                                   ___

          to  prove that  [Alzanki] used, .  . . or  threatened physical or

          legal coercion."   Thus, there can be no question  that the tran-

          script misstated an essential element of the crime charged. 



                              
          ____________________

               6Similarly,  appellant suggests  that  the jury  instruction
          invited the  impression that  "extremely poor  working conditions
          and/or  special vulnerabilities of the  servant" might serve as a
          proxy for actual  or threatened  use of physical  force or  legal
          coercion.  However, the trial judge correctly instructed the jury
          that

                    [the charged offense, involuntary servitude,]
                    encompasses  situations  in which  one person
                    holds  another in  servitude by  placing that
                    person in fear of such  physical restraint or
                              ____
                    injury or legal coercion.  It may be shown by
                                               __ ___ __ _____ __
                    evidence of extremely poor working conditions
                    ________
                    and/or  special  vulnerabilities of  the ser-
                    vant.  
          In addition, the jury  received proper instructions on the  roles
          of "legal coercion" and "physical coercion":  

                    [Legal coercion]  simply means the use of the
                    law, the legal process, or legal institutions
                    to compel  service.   The question  here that
                    you will need to determine  is:  Did the gov-
                    ernment prove beyond a reasonable  doubt that
                    the  defendant used or threatened physical or
                    legal coercion to compel Ms. Gedara's service
                    in the household?  

          Of course, the  jury is  presumed to have  followed the  instruc-
          tions.   Tutiven, 40 F.3d at  7 (citing Yates v.  Evatt, 500 U.S.
                   _______                        _____     _____
          391, 403-04 (1991)). 

                                          11
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                    The jury  had been deliberating for seven  hours by the

          time  it requested  the transcript  for the  explicit purpose  of
                                              ___ ___  ________ _______  __

          reviewing witness testimony.7   Thus, there is but a  remote pos-
          _________ _______ _________

          sibility  that the jury even  consulted the portion  of the tran-
                                  ____  _________ ___ _______  __ ___ _____

          script  containing the  typographical  error.   Furthermore, even
          ______  __________ ___  _____________  _____

          assuming  the jury  consulted the  relevant portion of  the tran-

          script, it is virtually inconceivable that it would have credited

          this  lone typographical  error over  four correctly  transcribed

          statements,  and the  five correct  oral statements  it had  been

          given in  the courtroom earlier, especially  since the transcript

          itself  alerted the jury with the imprint:  "Rough Draft-Not Cer-

          tified."   Cf. United States  v. DeMasi, 40  F.3d 1306, 1317-1318
                     __  _____________     ______

          (1st Cir. 1994) ("Our review of the instructions reveals that the

          district  court  referred  to  the 'beyond  a  reasonable  doubt'

          standard  no less  than twelve  times in the  nine pages  of jury

          instructions  preceding the  isolated  section  challenged  here.

          This overwhelming number of correct references negated any chance

          that the  contested statements were  misconstrued by the  jury as

          somehow  reducing  the  government's  burden  of  proof"),  cert.
                                                                      ____

          denied, Bonasia  v. United States,  115 S.Ct. 947  (1995); United
          ______  _______     _____________                          ______

          States v. Glenn, 828 F.2d 855,  861 (1st Cir. 1987) ("This  [cha-
          ______    _____

          llenged] phrase [in  the jury  instructions] .  . .  'may not  be

          judged in artificial isolation, but must be viewed in the context

                              
          ____________________

               7Despite the government's recommendation that the transcript
          be proofread, the defense  suggested that it be submitted  to the
          jury  prior to proofreading or certification by the court report-
          er.

                                          12
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          of the  overall charge.'")  (quoting United States  v. DeVincent,
                                               _____________     _________

          632 F.2d 147,  152 (1st  Cir.), cert. denied,  449 U.S. 986  (19-
                                          ____  ______

          80)).8  

                    Given  the  fact that  the  trial  judge correctly  and

          repeatedly explained  this  element to  the jury  earlier in  the

          courtroom, and  absent any indication  that the jury  even noted,

          let alone credited, the  isolated misstatement in the transcript,

          we find no prejudice.  Cf. United States v. Griley, 814 F.2d 967,
                                 __  _____________    ______

          975  (4th  Cir.  1987)  (where deliberating  jury  received  tape

          recording of jury instructions  at defendant's criminal trial, as
                                                                         __

          well as  instructions given  in unrelated civil  case, conviction
          ____ __

          upheld on grounds that  appellant failed to demonstrate prejudice

          and trial court gave  proper curative instruction); United States
                                                              _____________

          v. North, 746 F.2d 627,  631-32 (9th Cir.) (affirming  conviction
             _____

          even though  a search warrant affidavit,  excluded from evidence,

          was sent to jury  room by mistake; finding "no  reasonable possi-

          bility  that [the  warrant]  could have  affected the  verdict"),

          cert. denied, 470  U.S. 1058 (1984), overruled  on other grounds,
          ____  ______                         ___________________________

          Jacobson v.  United States, 503  U.S. 540  (1992).  There  was no
          ________     _____________

          reversible error.

               2.   The Conspiracy Instruction 
               2.   The Conspiracy Instruction
                    __________________________

                    Appellant  claims that  the district  court incorrectly

          instructed  the jury on  an essential  element of  the conspiracy

          charge, by stating that he could be found guilty even if his only

                              
          ____________________

               8The "force  or threat"  element was described  correctly in
          the preliminary jury instructions as well.  See supra note 5.
                                                      ___ _____

                                          13
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          alleged  coconspirator,  Abair Alzanki,  involuntarily cooperated

          under duress.  Apparently  unclear on this point, the  jury later

          requested further instructions:  "[I]s there a conspiracy  if the

          second  person [the wife] .  . . joined  the agreement not volun-

          tarily but in fear?"  The trial judge instructed: 

                    The answer is yes.  If she agreed with him to
                    do an  act that  is unlawful, the  first ele-
                    ment, an  agreement, is satisfied.  You must,
                    however,  then go on  and consider the second
                    element, and determine whether  [the husband,
                    Talal  Alzanki], the  only  person who  is  a
                    defendant before you, joined into that agree-
                    ment  knowingly and  willfully as I  have de-
                    fined it to you.  

                    Appellant  correctly asserts  that a  viable conspiracy

          charge under 18 U.S.C.   371 requires at least  two conspirators,

          each  possessed of  the requisite  criminal intent.    See, e.g.,
                                                                 ___  ____

          United States v. Penagaricano-Soler, 911 F.2d 833,  841 (1st Cir.
          _____________    __________________

          1990).   He argues that his  wife could not have  been the indis-

          pensable  second  willing  party,  because he  coerced  her  into
                    ______

          participating.   For the  latter proposition, he  relies on cases

          which hold  that a conspiracy charge will not lie if the putative

          coconspirator  turned out  to  be an  undercover law  enforcement

          agent.  See, e.g., United States v. Nason, 9 F.3d 155, 161  &amp; n.2
                  ___  ___   _____________    _____

          (1st Cir. 1993), cert. denied, 114 S.Ct. 1331 (1994).  
                           ____  ______

                    As  the present claim is  raised for the  first time on

          appeal, we review only for plain error.  DeMasi, 40 F.3d at 1318;
                                                   ______

          United  States v.  Griffin, 818  F.2d 97,  100 (1st  Cir.), cert.
          ______________     _______                                  ____

          denied, 484 U.S.  844 (1987).   The burden  therefore rests  with
          ______

          appellant to establish that  the error was "clear," in  the sense


                                          14
                                          14














          that it was "obvious," that it affected "substantial rights," and

          that failure to vacate the  conspiracy conviction would result in

          a  "miscarriage of justice."   United States v.  Olano, 113 S.Ct.
                                         _____________     _____

          1770, 1776-79 (1993).  

                    We note at the outset that a "generalized fear" of harm

          would not have  afforded Abair  Alzanki a viable  defense to  the
                                   _____

          conspiracy charge.  See, e.g., United States v. Stevens, 985 F.2d
                              ___  ____  _____________    _______

          1175,  1182  (2d Cir.  1993)  (district  court properly  rejected

          request to instruct  jury that generalized fear  of harm, without

          more,  would  compel  acquittal).   Moreover,  neither  defendant

          contended  at trial  that  Abair Alzanki  conformed  her will  or

          behavior in response  to duress.   Indeed, nothing  in the  trial

          record intimates  a causal  link between Talal  Alzanki's abusive

          behavior and Abair's participation in the conspiracy.  Cf. Slater
                                                                 __  ______

          v. United States, 562 F.2d 58, 62 (1st Cir. 1976) (defendant con-
             _____________

          victed of Kickback Act  violation, an essential element  of which

          is  the intimidation of others, was properly convicted as well of

          conspiring with those  whom he intimidated).   Thus, the district
          __________

          court correctly advised the jury that the appropriate inquiry was

          whether  Talal Alzanki "joined . . . that agreement knowingly and
                   _____

          willfully."   As the evidence  plainly supported such  a finding,

          there was no error, let alone plain error.

          C.   Sufficiency of the Evidence  
          C.   Sufficiency of the Evidence
               ___________________________

                    Appellant next contends  that the  evidence was  insuf-

          ficient to  convict  on the  substantive "involuntary  servitude"

          charge.  We review  "the evidence in the light  most favorable to


                                          15
                                          15














          the  verdict, in order to  determine whether a  rational trier of

          fact  could  have found  guilt beyond  a  reasonable doubt.   All

          reasonable inferences are drawn  in favor of the verdict  and any

          credibility determination must be compatible with the judgment of

          conviction."  United States v. Tuesta-Toro, 29 F.3d 771, 776 (1st
                        _____________    ___________

          Cir.  1994)  (quoting United States  v. Tejeda, 974 F.2d 210, 212
                                _____________     ______

          (1st Cir.  1992)), cert. denied, 115 S.Ct. 947 (1995).  There was
                             ____  ______

          ample  evidence to  enable  a rational  jury  to find,  beyond  a

          reasonable  doubt,  each  essential element  of  the  substantive

          offense.  

                    Appellant argues  that the record discloses  only a few

          isolated instances in which any physical force whatever  was used

          against Gedara.   These incidents, he  argues, did not  approach,

          either in frequency or severity, but see supra  p.3, the level of
                                           ___ ___ _____

          physical abuse present in the typical involuntary servitude case.

          Furthermore, he  says, conditions  in the Alzanki  apartment were

          neither squalid nor jail-like; whereas in the typical involuntary

          servitude case, the  victim is exposed to  severe physical abuse,

          as well as confinement in extremely uncomfortable quarters.  See,
                                                                       ___

          e.g., Kozminski, 821 F.2d 1186,  1188-89 (6th Cir. 1987) (squalid
          ____  _________

          lodgings, without  plumbing; rotten  food; numerous instances  of

          slapping, choking,  kicking), aff'd, 487 U.S.  931 (1988); United
                                        _____                        ______

          States v. Harris, 701  F.2d 1095, 1098 (4th Cir.  1982) (beatings
          ______    ______

          with  a rubber hose and  confinement to quarters  ("the jail") in

          retaliation for  attempted escape),  cert. denied, 463  U.S. 1214
                                               ____  ______

          (1983); Booker, 655 F.2d at 565-66 (numerous retaliatory beatings
                  ______


                                          16
                                          16














          following  escape attempts);  Bibbs,  564 F.2d  at 1167  (holding
                                        _____

          victims  at gunpoint;  beating and  threatening to  kill any  who

          attempted escape).  

                    Gedara  testified that during  her four-month ordeal in

          their apartment she was physically  assaulted by the Alzankis  on

          two occasions and  contemporaneously informed that  their purpose

          was to  keep her "in her place."  The physical violence appellant

          directed  at Gedara  was by  no means  trifling in  degree.   The

          evidence revealed  that appellant  punished Gedara     merely for

          asking him to  turn down the television    by throwing her bodily

          against the wall.  Moreover,  she was kept in a serious  state of

          malnutrition, deprived of medical  care, and subjected to threats

          of  deportation, physical harm and even death.  Given her experi-

          ence as  a domestic servant in Kuwait, see supra p.2,9 and in the
                                                 ___ _____

          Alzanki  apartment in Quincy, the jury was entitled to infer that

          Gedara reasonably believed these threats.  

                    Appellant correctly asserts that the requisite "compul-

          sion"  is not  established  in circumstances  where an  available

          alternative  to continued  service  is merely  "exceedingly bad."

                              
          ____________________

               9Gedara  testified to  her understanding  of  Kuwaiti police
          practices toward household servants:

               Q.   Ms. Gedara, what  was your state of  mind regarding the
               police in Kuwait?

               A.   I heard if we go alone out in the street, they're going
               to catch us and hit [us] and put into jail.  

               She  testified that  she believed  that the  American police
          would treat her much the same way were she to venture outside the
          Alzanki apartment. 

                                          17
                                          17














          See Kozminski, 487 U.S.  at 938   (quoting Shackney, 333 F.2d  at
          ___ _________                              ________

          486).   Instead,  the  evidence must  establish  that the  victim

          reasonably believed she was left with no alternative to continued

          servitude that was not the equivalent of "imprisonment or worse."

          Shackney, 333 F.2d at 486.   See, e.g., Steirer v. Bethlehem Area
          ________                     ___  ____  _______    ______________

          Sch.  Dist., 987  F.2d  989, 1000  (3d  Cir.) (community  service
          ___________

          requirement for high school graduation not  a form of involuntary

          servitude, as student has choice of foregoing graduation) (citing

          Shackney, 333 F.2d at 486), cert. denied, 114 S.Ct. 85 (1993).  
          ________                    ____  ______

                    The evidence that Gedara herself was well aware of  the

          severely restrictive conditions encountered by household servants

          in  Kuwait would  enable  the jury  rationally  to conclude  that

          Gedara     threatened with deportation  to Kuwait and no prospect

          of returning to Sri Lanka and her family     confronted an alter-

          native  to continued  involuntary  service  which she  reasonably

          considered at least as  severe as imprisonment, particularly when

          viewed in  light of  her "special vulnerabilities."10   Moreover,

          the reasonableness  of her fear of  deportation was substantiated

          by  the  undisputed evidence  that  she  would become  deportable

                              
          ____________________

               10Evidence of  other threats  and warnings provided  further
          support  for  the verdict.    These  included  warnings that  the
          American  police would  shoot Gedara  if she  left  the apartment
          alone.  Though such a prospect might not have  seemed credible to
          a competent adult American,  the "special vulnerabilities" of the
          victim must be taken into consideration.  See Kozminski, 487 U.S.
                                                    ___ _________
          at  948, 956.  To a foreign  worker familiar with Kuwaiti customs
          and  practices (for  example, at  trial there  was evidence  that
          Kuwaiti  soldiers manned checkpoints  to enforce  restrictions on
          noncitizen movement, especially household  servants), a threat of
          deportation  in these  circumstances  plausibly may  equate  with
          imprisonment.  See supra note 9.
                         ___ _____

                                          18
                                          18














          immediately upon loss of her "B-1" visa status, which allowed her

          lawfully to remain in  the United States only while in the employ

          of the Alzankis.  See  8 U.S.C.   1184(a)(1) ("[U]pon failure  to
                            ___

          maintain  the status under which  [s]he was admitted,  . . . such

          alien will depart from the United  States." ); 22 C.F.R.   41.31.



                    Although  the defense presented contrary testimony, the

          jury fairly  could infer  that the most  efficacious threats  are

          those  the victim reasonably believes can be carried out.  Shack-
                                                                     ______

          ney,  333 F.2d  at 486-87.   Cf.  Booker, 655 F.2d  562 (threats,
          ___                          __   ______

          substantiated by  severe  beatings and  assaults  with  firearms,

          coerced  abductees into remaining at  labor camp).   The jury was

          entitled to make its own credibility determinations, Tuesta-Toro,
                                                               ___________

          29  F.3d at 776,  and to  find, beyond  a reasonable  doubt, that

          Gedara believed  appellant's deportation threats to  be plausible

          and that  the alternative to continued  involuntary servitude was

          at least as severe as imprisonment.

          D.   Evidentiary Rulings
          D.   Evidentiary Rulings
               ___________________

               1. The "victimologist" testimony
               1. The "victimologist" testimony
                  _____________________________

                    Appellant filed  an unsuccessful  motion  in limine  to
                                                              __ ______

          preclude  the government  from  calling Ann  Burgess, a  "victim-

          ologist,"  as an expert witness.   At trial,  the government used

          Burgess to  refute the Alzankis' principal  "defense"; viz., that
                                                                 ___

          Gedara often ventured outside their unlocked apartment during her
                                              ________

          alleged  involuntary servitude,  and given  the normal  human in-

          stinct for  self-preservation, one would  expect an  unrestrained


                                          19
                                          19














          person  faced with  actual or threatened  physical abuse  to flee

          from her abuser at the first opportunity.  Burgess countered this

          evidence  with  testimony that  abuse  victims  often harbor  the

          opposite impulse     overwhelmed by fear  they remain with  their

          abusers. 

                    Appellant contends that Burgess's expert qualifications

          related  only to  sexual  abuse victimology,  not the  behavioral
                            ______

          responses of domestic workers subjected to involuntary servitude.

          Thus, appellant argues, the expert testimony presented by Burgess

          was  irrelevant  and unhelpful  to the  jury,  see Fed.  R. Evid.
                                                         ___

          104(a), 702 (permitting use of expert testimony "[i]f scientific,

          technical, or  other specialized knowledge will  assist the trier

          of fact") or, at  the very least, its minimal probative value was

          substantially outweighed  by the danger of  unfair prejudice, see
                                                                        ___

          Fed. R. Evid. 403.   Finally, appellant argues that  the jury was

          swayed by  Burgess's professional credentials, and  her testimony

          amounted  to  impermissible "bolstering"  of  the  allegations of

          abuse made by Gedara.

                    We  review  challenges to  expert-witness qualification

          only  for manifest abuse of discretion.  See, e.g., United States
                                                   ___  ____  _____________

          v. Sepulveda, 15 F.3d  1161, 1183 (1st Cir. 1993),  cert. denied,
             _________                                        ____  ______

          114  S.Ct. 2714 (1994); United States v. Echeverri, 982 F.2d 675,
                                  _____________    _________

          677 (1st  Cir. 1993).11  The  "gatekeeping function" contemplated
                              
          ____________________

               11We reject  the government's  contention that the  Rule 702
          claim should be reviewed  only for plain error, since  only Abair
          Alzanki objected  at trial.  See United  States v. Reed, 977 F.2d
                                       ___ ______________    ____
          14, 16  (1st Cir. 1992)  (motion in limine  must be "renewed"  by
          timely  objection  at trial).   At  the  outset, the  trial judge

                                          20
                                          20














          by  Rule 702  essentially  requires  the  trial judge  to  assess

          whether  it  is  "reasonably  likely that  the  expert  possesses
                            __________  ______

          specialized  knowledge  which will  assist  the  trier better  to

          understand  a fact in issue."  Sepulveda, 15 F.3d at 1183 (citing
                                         _________

          Daubert  v. Merrell  Dow  Pharmaceuticals, Inc.,  113 S.Ct.  2786
          _______     ___________________________________

          (1993)) (emphasis added); Apostol v. United States, 838 F.2d 595,
                                    _______    _____________

          599 (1st Cir. 1988) (noting that Rule 702 rulings invite a "case-

          specific inquiry").  We find no error. 

                    The central fallacy in appellant's claim is its implic-

          it assumption  that no one other than  an "involuntary servitude"

          victimologist could have qualified as an expert under Rule 702 in

          the  present case.   This  thesis obviously  focuses only  on the
                                                               ____

          "specialized knowledge" requirement under  Rule 702, to the total

          exclusion of the ultimate standard  for admission    whether  the
          _________        ________

          "specialized knowledge" possessed by the witness "will assist the
                                                                 ______

          trier of fact  to understand the evidence or to  determine a fact

          in issue .  . .  ."   Fed. R. Evid.  702.   It is  one matter  to

          acknowledge that a witness steeped in the behavioral reactions of

          Sri Lankan  domestic servants abused by Kuwaiti  nationals in the

          United  States could be instructive (if not inordinately so) to a

          jury.  It is quite another  to suggest that it is not "reasonably

          likely," see Echeverri,  982 F.2d  at 677, that  a somewhat  less
                   ___ _________

          specialized victimologist might "assist" a  generalist factfinder

          in assessing  evidence of the exceedingly  uncommon phenomenon of
                              
          ____________________

          announced that  an objection  by either defendant  would preserve
          the  claim for  both.   See,  e.g.,  Sepulveda, 15  F.3d  at 1180
                                  ___   ____   _________
          (noting practice as common protocol).

                                          21
                                          21














          domestic  servant abuse in the present-day United States.  Id. at
                                                                     ___

          783  (Rule 702 demands "common  sense inquiry").   While the more

          generalized  nature of  the  proffered testimony  may temper  its

          probative value to the factfinder, we do not think it can be said

          that its relevance is negated entirely.12

                    The  record  reflects that  the  trial judge  carefully

          evaluated Ms. Burgess's  professional qualifications following  a

          lengthy voir dire.  Burgess testified that her principal training

          and experience related to  victims of sexual abuse, but  that she

          had researched comparable clinical behavior manifested by victims

          of physical  abuse of a  non-sexual nature in  so-called "unequal

          power"  relationships  (e.g.,  battered  spouses  and  children).
                                  ____

          Based  on her general research  and her personal interaction with

          hundreds  of  victims of  sexual  abuse,  Burgess testified  that

          Gedara's behavioral response to the non-sexual abuse administered

          by the Alzankis was consistent with the behavior of abuse victims
                              __________ ____ ___ ________ __ _____ _______

          generally.  It seems to us that expert testimony  on this subject
          _________

              which the defense was  free to contradict     was "reasonably

          likely"  to assist  the jury in  understanding and  assessing the

          evidence,  in  that the  matter  at  issue was  highly  material,



                              
          ____________________

               12The  rationale for the  trial judge's ruling  was much the
          same: 

                    It seems . . . that one doesn't have to be so
                    specialized as  to be  an expert on  the res-
                    ponse of a slavery victim to the master rath-
                    er than a  victim of other kinds of  abuse of
                    power in unequal relationships.

                                          22
                                          22














          somewhat technical,  and beyond  the realm of  acquired knowledge

          normally possessed by lay jurors.

                    Finally, appellant  cites no  federal case law  for the

          contention that allowing  an expert to  testify to her  empirical

          findings on  the behavioral reactions of  abuse victims impermis-

          sibly suggests to the jury that the putative victim's allegations

          of abuse should be believed.  The overwhelming weight of authori-

          ty suggests otherwise.   See, e.g., United States v.  Hadley, 918
                                   ___  ____  _____________     ______

          F.2d  848, 852  (9th Cir.  1990) (upholding  admission of  expert

          testimony by  child psychiatrist as to  "general behavior charac-

          teristics that may be exhibited in children who have been sexual-

          ly abused"),  cert. dismissed, 113  S.Ct. 486  (1992); Server  v.
                        ____  _________                          ______

          Mizell,  902  F.2d 611,  615 (7th  Cir.  1990); United  States v.
          ______                                          ______________

          Pierre,  812 F.2d 417,  419 (8th Cir. 1987).   Moreover, the able
          ______

          trial  judge left  no room  for doubting  that the  jury remained

          perfectly free to reject Burgess's expert opinion, as well as its

          predicate assumption.13 

               2. "Other Acts" Evidence (Rule 404(b)) 
               2. "Other Acts" Evidence (Rule 404(b))
                   __________________________________
                              
          ____________________

               13The  judge firmly  cautioned the  jury immediately  before
          Burgess testified: 

                    The witness  who is about to  testify is what
                    we call an expert witness.  She does not know
                    what occurred at the  Alzanki household.  She
                    wasn't there, she didn't see any of that. . .
                    . [O]ne  of the  ways in which  witnesses are
                    very  often  examined,  expert witnesses  are
                    very often examined,  is that they are  asked
                    to make  certain assumptions . .  . that have
                    to do with the facts in the case.  . . . [I]f
                    the facts are different from the assumptions,
                    then the opinions based on the assumption are
                    of absolutely no value to you.
                       __________ __ _____ __ ___

                                          23
                                          23














                    Appellant next  contends that the district  court erred

          in  admitting Gedara's  testimony concerning  appellant's abusive

          behavior  toward his  wife,  Abair Alzanki,  because Rule  404(b)

          absolutely  bars "other  acts"  evidence relevant  only to  prove

          criminal propensity or bad character.   See Tuesta-Toro, 29  F.3d
                                                  ___ ___________

          at 775.  We disagree.  

                    The Rule 404(b) bar is not  implicated unless the chal-

          lenged "other crimes, wrongs, or acts are relevant exclusively to
                                                             ___________

          instigate  an inference that the defendant is more likely to have

          acted in similar fashion  by committing the offense for  which he

          is  on  trial."   Tutiven, 40  F.3d at  5  (emphasis added).   By
                            _______

          contrast, the evidence admitted below bore special relevance to a

          pivotal element of  the alleged offense  quite apart from  appel-

          lant's propensity to commit wrongful acts; viz., the "reasonable-
                                                     ___

          ness" of  Gedara's stated  fear that  she  would be  a target  of

          appellant's physical violence should she disobey him.  See United
                                                                 ___ ______

          States v.  Oreto, 37 F.3d  739, 749 (1st Cir.  1994) (evidence of
          ______     _____

          victim's awareness  of defendant's  prior bad acts  against third

          parties is  especially relevant  to  an element  of the  offense,

          i.e., the  reasonableness of  the stated  basis for  the victim's

          fear) (citing  United States v.  DeVincent, 546 F.2d  452, 456-57
                         _____________     _________

          (1st Cir.  1976),  cert.  denied, 431  U.S.  903  (1977)),  cert.
                             ____   ______                            ____

          denied, 115 S.Ct. 1161 (1995).
          ______

               3.   Evidence of Ethnic Background and National Origin
               3.   Evidence of Ethnic Background and National Origin
                    _________________________________________________

                    Appellant now claims  that the government  deliberately

          introduced evidence  of repressive Kuwaiti  customs and practices


                                          24
                                          24














          toward  domestic workers  primarily  to inflame  any ethnic  bias

          among the  jurors.14   Since he  asserted no  contemporaneous ob-

          jection, we review for plain error.  See United States v. Figuer-
                                               ___ _____________    _______

          oa, 976 F.2d 1446, 1455 (1st Cir. 1992), cert. denied, 113 S. Ct.
          __                                       ____  ______

          1346  (1993) (finding claim of  ethnic bias waived,  and no plain

          error).  We will reverse "only if the error 'seriously affect[ed]

          the  fundamental fairness  and  basic integrity  of the  proceed-

          ings.'"  Tuesta-Toro,  29 F.3d  at 775 (citing  United States  v.
                   ___________                            _____________

          Carty, 993  F.2d 1005,  1012 n.9  (1st Cir. 1993)).   We  find no
          _____

          error.

                    The government itself cautioned the jury during closing

          argument  that  appellant's mere  status  as  a foreign  national
                                            ______

          should play no part in their deliberations.  Further, at no point

          during the trial did the government make  any inflammatory remark

          relating to  the Alzankis' ethnic background  or national origin.

          See United States  v. Ovalle-Marquez,  36 F.3d  212, 221-22  (1st
          ___ _____________     ______________

          Cir. 1994) (finding remarks not inflammatory because, inter alia,
                                                                _____ ____

          they "serve  [a] purpose other  than to inflame"),  cert. denied,
                                                              ____  ______

          115 S.Ct. 1322 (1995).   Finally, unlike cases in  which evidence

          of this type  has been  found marginally relevant  at best,  see,
                                                                       ___

          e.g., United  States v. Rodriguez  Cortes, 949  F.2d 532,  541-42
          ____  ______________    _________________

          (1st Cir. 1991) (finding  that admission of defendant's Colombian

          identification card  impermissibly invited jury to  conclude that
                              
          ____________________

               14During  jury  impanelment,  the  trial  judge scrupulously
          inquired of each prospective  juror whether the ethnic background
          or national  origin of the  defendants would  affect the  juror's
          capacity to  serve impartially.  Certain  prospective jurors were
          excused for cause on these grounds. 

                                          25
                                          25














          "a person . . .  born in Colombia . . . must be  involved in drug

          trafficking"); see also  United States  v. Doe, 903  F.2d 16,  18
                         ___ ____  _____________     ___

          (D.C. Cir.  1990) (noting that prosecutor  frequently referred to

          defendants as  "Jamaicans" and  stressed expert testimony  to the

          effect  that "Jamaicans" were known to be deeply involved in drug

          trafficking), prevailing Kuwaiti customs were highly probative on

          at least three issues  material to the section  1584 prosecution.

          See,  e.g.,  Figueroa, 976  F.2d at  1455  (no plain  error where
          ___   ____   ________

          evidence  related to true source of large bank deposits in defen-

          dant's name, corroborated  certain admissions  by defendant,  and

          bolstered  credibility  of  important  government  witness  whose

          credibility was challenged by defense).  

                    First,  it could be inferred that Gedara    as a former

          domestic servant in Kuwait    developed a "special vulnerability"

          to the Alzankis' threats, even though an American domestic worker

          might not have  been placed  "reasonably" in fear  thereby.   See
                                                                        ___

          Kozminski, 487 U.S. at  952.  For example, the  evidence relating
          _________

          to Kuwaiti customs  and practices clearly tended  to buttress the

          reasonableness of Gedara's stated belief in appellant's  warnings

          that the  American police, like their  Kuwaiti counterparts, were

          under orders to shoot  undocumented domestic workers who ventured

          out alone.  Gedara likewise would have been especially vulnerable

          to the coercive force of  appellant's frequent threats to  punish

          her disobedience by returning  her to Kuwait, rather than  to her
                              _________  ___ __ ______

          native home in Sri Lanka.   Moreover, appellant's own familiarity

          with Kuwaiti customs could generate the reasonable inference that


                                          26
                                          26














          appellant  played  on  Gedara's  isolation  and  vulnerabilities,

          making it more probable that he acted with the requisite specific
                                                                   ________

          intent  to subject her to involuntary  servitude.  Indeed, appel-
          ______

          lant sought to capitalize on the very same evidence by arguing to

          the  jury that he should  not be convicted  since his experiences

          growing up  in Kuwait had never  put him on fair  notice that his

          treatment of Gedara  might be considered  criminal in other  cul-

          tures. 

               4.   Hearsay Testimony
               4.   Hearsay Testimony
                    _________________

                    Appellant next challenges, as inadmissible hearsay, the

          testimony given  by several  nurses and a  respiratory specialist

          who  came to  the Alzankis'  apartment to  care for  their ailing

          child, and by a police officer who interviewed Gedara immediately

          after  she fled the  apartment.  These  witnesses related various

          contemporaneous  statements Gedara  made to  them concerning  the

          harsh conditions  and inhumane  treatment she experienced  at the

          hands  of the Alzankis.   The government  offered their testimony

          under  Rule 801(d)(1)(B) (prior  consistent statements offered to

          rebut charge of recent fabrication).  The district court admitted

          their  testimony  under Rule  803(3)  (statements of  declarant's

          then-existing state of mind).  We review for abuse of discretion.

          United States v. Paulino, 13 F.3d 20, 24 (1st Cir. 1994).  
          _____________    _______

                    Some of the challenged testimony clearly was admissible

          under Rule 803(3), such as Gedara's contemporaneous statements as

          to her state of mind     that she was afraid, hungry,  exhausted.

          On the  other hand, Rule 803(3)  has been held not  to allow more


                                          27
                                          27














          expansive statements elaborating upon  the underlying reasons for

          the  declarant's  state of  mind.   See,  e.g., United  States v.
                                              ___   ____  ______________

          Fontenot,  14 F.3d 1364, 1371 (9th Cir.), cert. denied, 115 S.Ct.
          ________                                  ____  ______

          431 (1994); United States v. Cohen, 631 F.2d 1223, 1225 (5th Cir.
                      _____________    _____

          1980).   In any event, we may affirm the district court ruling on

          any  ground apparent from the appellate record.  United States v.
                                                           _____________

          Norton, 26 F.3d 240, 244 (1st Cir. 1994).
          ______

                    The government was entitled to introduce the challenged

          testimony to establish the  truth of the matter asserted,  if (1)

          the declarant  (viz., Gedara) testified at trial  and was subject
                          ___

          to cross-examination; (2) the challenged statements and her trial

          testimony were consistent; and (3) the challenged statements were

          offered  to rebut an express or implied charge that the declarant

          recently fabricated her story, or became subject to some improper

          influence or motive to falsify after making the challenged state-

          ment.   See Tome v. United States,  115 S. Ct. 696 (1995); United
                  ___ ____    _____________                          ______

          States v.  Arias-Santana, 964  F.2d 1262, 1264  (1st Cir.  1992);
          ______     _____________

          United States  v. Piva, 870 F.2d  753, 758 (1st Cir.  1989).  All
          _____________     ____

          three criteria for admission under Rule 801(d)(1)(B) were met.  

                    At  trial,  Gedara  testified  consistently   with  her

          previous statements to the nurses, therapist, and police officer.

          By suggesting, on cross-examination, that Gedara recently had met

          with  a  Hollywood producer  interested  in  purchasing the  film

          rights  to her  "story,"  that she  was  engaged in  a  Hollywood

          bidding  war, and that she had been interviewed by Boston newspa-

          pers  to  drum up  publicity  for  her  "story," defense  counsel


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          plainly impugned Gedara's motives and just as clearly invited the

          government to respond    as it did    with corroborative evidence

          that Gedara had made statements consistent with her  trial testi-

          mony long before the motivations attributed to her by the defense

          had ever arisen.   See United States v. Montague,  958 F.2d 1094,
                             ___ _____________    ________

          1095 (D.C. Cir. 1992).  

          E.  The Restitutionary Sentence
          E.  The Restitutionary Sentence
              ___________________________

                    Finally,  appellant  contends  that the  restitutionary

          sentence imposed  pursuant to  the Victim and  Witness Protection

          Act,  18 U.S.C.     3663(b)(2)(A), constituted  error because  it

          reimbursed  Gedara for  (1) lost overtime wages to which  she was

          not  entitled under the applicable law,  see Fair Labor Standards
                                                   ___

          Act, 29 U.S.C.   213; Massachusetts Wage and Hour Act, Mass. Gen.

          L. Ann. ch. 151;  (2) lost wages for  time she took off from  her

          job  to assist the government in prosecuting its case against the

          Alzankis, but see Ratliff  v. United States, 999 F.2d  1023, 1026
                    ___ ___ _______     _____________

          (6th  Cir. 1993);  and (3)  psychological counseling  for chronic

          stress symptoms attributable to her abusive treatment, but cf. 18
                                                                 ___ __

          U.S.C.   3663(b)(2)(A) (restitution only for "bodily injury").
                                                        ______

                    We decline  to address  appellant's  challenges to  the

          restitutionary  sentence  since  these claims  were  never raised

          below.  See  United States v.  Dietz, 950 F.2d  50, 55 (1st  Cir.
                  ___  _____________     _____

          1991).15    Appellant's  utter  failure to  object  disabled  the
                              
          ____________________

               15Indeed, as concerns the first contention, appellant flatly
          stated  at sentencing that he "would leave  it up to the Court to
                                         _____ _____  __ __ __ ___ _____ __
          determine what is an appropriate restitution figure." Nor  did he
          _________ ____ __ __ ___________ ___________ ______
          cite to  the two statutes upon  which he now relies.   Rather, he
          left  the  district court  with  the clear  impression  that some
                                                                       ____

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          sentencing court from making a reasoned assessment of the present

          claims  in the  first  instance, and  from  making the  predicate

          factual findings upon which  the claims depend.  For  example, as

          concerns  appellant's second claim,  the government responds that

          the  restitutionary sentence  did  not include  reimbursement  to
                                             ___

          offset  leave time Gedara took to help the government prepare its

          case,  but merely to reimburse  her for lost  wages occasioned by

          having  to leave her new  employment to obtain  treatment for the

          debilitating stress she experienced during her four-month ordeal.

          The government concedes  that reimbursement  for Gedara's  assis-

          tance in preparing for trial would be  problematic as a matter of

          law, but appellant's failure  to alert the district court  to the

          claim,  raised for the first  time on appeal,  prevented the sen-

          tencing  court from clarifying  the factual basis  for its resti-
                                              _______

          tutionary sentence.  Lastly, appellant's only attempt at address-

          ing the government's waiver argument    that he promptly appealed

          the restitutionary sentence    is  no answer at all.  Nor  did he

          request reconsideration of the restitutionary sentence.  See Fed.
                                                                   ___

          R. Crim. P.  35(c); cf. United States v. Heilprin,  910 F.2d 471,
                              __  _____________    ________

          474 n.5 (7th Cir. 1990).


                                         III
                                         III

                                      CONCLUSION
                                      CONCLUSION
                                      __________

                    The district court judgment must be affirmed.

                    Affirmed.
                    Affirmed.
                    ________

                              
          ____________________

          overtime wages might be appropriate as a matter of law. 

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